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Xo 245D (CASD Rev, 1/19) Judgment in a Criminal Case for Revocations

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

 

   

 

 

 

 

 

 

 

 

 

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
(For Revocation of Probation or Supervised Release)
Vv (For Offenses Committed On or After November 1, 1987)
ADRIAN GASTELUM-GONZALEZ (1) Case Number: 18-CR-2179-CAB
. | PATRICIA OJEDA, FEDER EGE FES ES
Defendant's Attorney eS See eos Aa
REGISTRATION NO. 68494298
o- | : | Nov 01 2021
THE DEFENDANT: _
: a CLERK, U.S. DISTRICT COURT
admitted guilt to violation of allegation(s) No. 1,2 SOUTHERN DISTRICT OF CALIFORNIA
BY DEPUTY
(1 was found guilty in violation of allegation(s) No. . after denial of guilty.

 

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

Allegation Number . Nature of Violation
1,2. nv3, Unlawful use of a controlled substance or Failure to Test; VCCA (Violent Crime Control

Act)

i

Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

_ 17 IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
Judgment are fully paid. If ordered to pay restitution, the defendant shall ‘notify the court and United States attorney of any
material change in the defendant’s economic circumstances.

October 29, 2641

Date of Impgsitiog of Sentence

  

 

HON. Cathy Ann Bencivengo
UNITED STATES DISTRICT JUDGE
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a .
AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

 

DEFENDANT: ADRIAN GASTELUM-GONZALEZ (1) Judgment - Page 2 of 2
CASE NUMBER: 18-CR-2179-CAB
IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
SEVEN (7) MONTHS.

Sentence imposed pursuant-to Title 8 USC Section 1326(b).

The court makes the following recommendations to the Bureau of Prisons:
MEDICAL TREATMENT FOR HEALTH CONDITION.

KO

The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:
O at A.M, on

 

 

as notified by the United States Marshal.

q The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:

Ol onor before
O_ as notified by the United States Marshal.
Cl] as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:

Defendant delivered on . to

 

at , with a certified copy of this judgment.

 

UNITED STATES MARSHAL

 

By DEPUTY UNITED STATES MARSHAL
Hf

18-CR-2179-CAB
